                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for want of prosecution.
A case management conference was scheduled at 11:00 a.m. on June 24, 2010, to consider Plaintiff's appeal. On May 10, 2010, the court sent notice of the scheduled case management conference to Plaintiff at PO Box 1101, Woodburn, OR 97071, which is the address Plaintiff provided to the court. The notice was not returned as undeliverable.
On June 24, 2010, the court sent Plaintiff a letter which explained the importance of diligently pursuing an appeal. That letter was not returned as undeliverable. The letter advised that if Plaintiff did not provide a written explanation by July 8, 2010, for his failure to appear, the court would dismiss the appeal. As of this date, Plaintiff has not contacted the court. Under *Page 2 
such circumstances, the court finds the appeal must be dismissed for want of prosecution. Now, therefore,
IT IS THE DECISION OF THIS COURT that the Complaint is dismissed.
Dated this ___ day of July 2010.
If you want to appeal this Decision, file a Complaint in theRegular Division of the Oregon Tax Court, by mailing to:1163 State Street, Salem, OR 97301-2563; or by hand delivery to:Fourth Floor, 1241 State Street, Salem, OR.
 Your Complaint must be submitted within 60 days after the dateof the Decision or this Decision becomes final and cannot bechanged.
 This document was signed by Magistrate Jeffrey S. Mattsonon July 14, 2010. The Court filed and entered this documenton July 14, 2010.